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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                 Case No. 4:14-cr-00002-02 KGB

MICHAEL DAVID MANIS                                                                    DEFENDANT

                                                ORDER

        Defendant Michael David Manis was committed to the custody of the Attorney General for a

mental evaluation on December 2, 2014. The Court received the written forensic evaluations of

defendant on February 9, 2015, and filed the evaluation report under seal (Dkt. No. 35).

        Any response to the forensic evaluations must be filed within fourteen (14) days from the

date the forensic examination report is received by the Court and the parties. Any party who requests

a hearing regarding any issues in the report or opposes the report must file a motion for hearing or a

motion in opposition, including a concise statement of opposition to the report and citation to

supporting authorities. If no motions are filed within fourteen (14) days, the Court will enter an

Order adopting or rejecting the conclusions set forth in the report, and the period of excludable delay

will end.

        In the event counsel for the government or defendant disputes the findings in the forensic

evaluation report, a motion for hearing or motion in opposition to the report, including a concise

statement of opposition to the report and citation to supporting authorities, must be filed by

February 24, 2015. If no motions are filed, the Court will enter an Order based on the conclusions

set forth in the report.

        It is so ordered this 13th day of February, 2015.



                                                _________________________________
                                                Kristine G. Baker
                                                United States District Judge
